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                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,                )
     et al.,                              )
                                          )
      Plaintiffs,                         )
                                          )
v.                                        ) No. 2:22-cv-00184-LCB-SRW
                                          )
KAY IVEY, in her official capacity        )
as Governor of the State of Alabama,      )
     et al.,                              )
                                          )
      Defendants.                         )

               DEFENDANTS’ EXHIBIT LIST AND NOTICE OF FILING
              OF EVIDENCE IN OPPOSITION TO PLAINTIFFS’ MOTION
                       FOR PRELIMINARY INJUNCTION

      Defendants Kay Ivey, in her official capacity as Governor of the State of

Alabama; Steve Marshall, in his official capacity as Attorney General of the State of

Alabama; Daryl D. Bailey, in his official capacity as District Attorney for

Montgomery County; C. Wilson Blaylock, in his official capacity as District

Attorney for Cullman County; Jessica Ventiere, in her official capacity as District

Attorney for Lee County; Tom Anderson, in his official capacity as District Attorney

for the 12th Judicial Circuit; and Danny Carr, in his official capacity as District

Attorney for Jefferson County, submit the following exhibit list for the preliminary

injunction hearing scheduled for May 5 and 6, 2022. Defendants also give notice of

the filing of the exhibits listed below. These same exhibits will be cited in
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Defendants’ brief in opposition to the Plaintiffs’ motion, which will be filed

separately.



                                   Exhibit List

      D1      Alabama Vulnerable Child Compassion and Protection Act, Act 2022-
              289 (SB184)

      D2      Declaration of Dr. James Cantor, Ph.D.

      D3      Declaration of Dr. Michael K. Laidlaw, M.D.

      D4      Declaration of Dr. Quentin L. Van Meter, M.D.

      D5      Declaration of Dr. Paul W. Hruz, M.D., Ph.D.

      D6      Declaration of Dr. Patrick Hunter, M.D.

      D7      Declaration of Dr. Dianna Kenny, Ph.D.

      D8      Stephen B. Levine, E. Abbruzzese & Julia M. Mason, Reconsidering
              Informed Consent for Trans-Identified Children, Adolescents, and
              Young Adults, J. OF SEX & MARITAL THERAPY (Mar. 17, 2022)

      D9      Evidence Review: Gonadotropin Releasing Hormone Analogues for
              Children and Adolescents with Gender Dysphoria, Nat’l Inst. for
              Health & Care Excellence (NICE) (released Mar. 11, 2021), available
              at https://arms.nice.org.uk/resources/hub/1070905/attachment

      D10 Evidence Review: Gender-Affirming Hormones for Children and
          Adolescents with Gender Dysphoria, Nat’l Inst. for Health & Care
          Excellence (NICE) (released Mar. 11, 2021), available at
          https://arms.nice.org.uk/resources/hub/1070871/attachment

      D11 Sweden National Board of Health and Welfare Policy Statement,
          Socialstyrelsen, Care of Children and Adolescents with Gender
          Dysphoria:         Summary          (2022)         available at
          https://www.socialstyrelsen.se/globalassets/sharepoint-
          dokument/artikelkatalog/kunskapsstod/2022-3-7799.pdf


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D12 Finland’s Council for Choices in Healthcare Policy Statement,
    Palveluvalikoima, Recommendation of the Council for Choices in
    Health Care in Finland (PALKO / COHERE Finland) unofficial
    translation by Society for Evidence Based Medicine available in
    English                                                            at
    https://segm.org/sites/default/files/Finnish_Guidelines_2020_Minors_
    Unofficial%20Translation.pdf

D13 Académie Nationale de Médecine, Medicine and Gender Transidentity
    in Children and Adolescents (Feb. 25, 2022), available at
    https://www.academie-medecine.fr/wp-
    content/uploads/2022/03/22.2.25-Communique-PCRA-19-Gender-
    identity-ENG.pdf

D14 The Royal Australian & New Zealand College of Psychiatrists,
    Recognising and Address the Mental Health Needs of People
    Experiencing Gender Dysphoria / Gender Incongruence, Position
    Statement 103 (Aug. 2021), available at https://perma.cc/LR94-73ZU

D15 Bell v. Tavistock & Portman Nat’l Health Serv. Found. Tr. [2020]
    EWHC (Admin) 3274

D16 Centers for Medicare & Medicaid Services, Tamara Syrek Jensen, et
    al., Decision Memo for Gender Dysphoria and Gender Reassignment
    Surgery (CAG-00446N) (Aug. 30, 2016), available at
    https://perma.cc/9CQN-938N

D17 Am. Psychiatric Ass’n, DIAGNOSTIC AND STATISTICAL MANUAL OF
    MENTAL DISORDERS (5th ed. 2013) (excerpts)

D18 World Professional Ass’n for Transgender Health (WPATH),
    Standards of Care for the Health of Transsexual, Transgender, and
    Gender-Conforming People (7th Version) (2012)

D19 Wylie C. Hembree et al., Endocrine Treatment of Gender-
    Dysphoric/Gender-Incongruent Persons: An Endocrine Society
    Clinical Practice Guidelines, 102 J. CLINICAL ENDOCRINOLOGY &
    METABOLISM 3869 (Nov. 2017)

D20 Lisa Littman, Parent Reports of Adolescents & Young Adults Perceived
    to Show Signs of a Rapid Onset of Gender Dysphoria, PLOS ONE
    13(8):e0202330

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       D21 Lisa Littman, Individuals Treated for Gender Dysphoria with Medical
           and/or Surgical Transition who Subsequently Detransitioned: A Survey
           of 100 Detransitioners, 50 ARCHIVES OF SEXUAL BEHAVIOR No. 50,
           3353-54 (Oct. 2021)

       D22 Elie Vandenbussche, Detransition-Related Needs and Support: A
           Cross-Sectional Online Survey, JOURNAL OF HOMOSEXUALITY (Apr.
           30,                 2021),              available           at
           https://doi.org/10.1080/00918369.2021.1919479

       D23 Annelou de Vries et al., Young Adult Psychological Outcome After
           Puberty Suppression and Gender Reassignment, 130 PEDIATRICS, No.
           4, 696-704 (Oct. 2014)

       D24 Jason Rafferty, Policy Statement, Am. Academy of Pediatrics, Ensuring
           Comprehensive Care & Support for Transgender & Gender-Diverse
           Children & Adolescents, 142 Pediatrics no. 4, at 3 (Oct. 2018),
           available at https://perma.cc/EE6U-PN66

       D25 Am. Psych. Ass’n, Guidelines for Psychological Practice with
           Transgender and Gender Nonconforming People, 70 Am. Psychologist
           832,       836         (Dec.        2015),        available   at
           https://www.apa.org/practice/guidelines/transgender.pdf

       D26 Declaration of Corinna Cohn

       D27 Declaration of Sydney Wright

       D28 Declaration of Carol Frietas

       D29 Declaration of Barbara F.*

       D30 Declaration of John Doe*

       D31 Declaration of John Roe*

       D32 Declaration of Kristine W.*

       D33 Declaration of Yaacov Sheinfeld


*
 Proceeding using a pseudonym to protect the privacy of minor children suffering from gender
dysphoria.


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      D34 Declaration of Martha S.*

      D35 Declaration of KathyGrace Duncan

      D36 Declaration of Jeanne Crowley*

      D37 Declaration of Ted H. Halley

      D38 Declaration of Kellie C.*

      D39 Declaration of Gary Warner

      D40 April 15, 2022 emails regarding Ladinsky v. Ivy litigation

      Defendants reserve the right to proffer rebuttal exhibits, impeachment

exhibits, and any exhibit listed by another party to this action. Pursuant to this

Court’s order (doc. 34), Defendants file a copy of each exhibit.



                                        Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on May 2, 2022, which will serve all counsel of record.

                                     s/ James W. Davis
                                     Counsel for Defendants




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